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                           UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO


ADREE EDMO (a/k/a MASON EDMO),               Case No.: 1:17-cv-00151-BLW

                   Plaintiff,
                                              PLAINTIFF’S MEMORANDUM OF POINTS
       v.                                     AND AUTHORITIES IN SUPPORT OF
                                              MOTION FOR REASONABLE
IDAHO DEPARTMENT OF CORRECTION,               ATTORNEYS’ FEES AND EXPENSES
ET AL.                                        THROUGH SEPTEMBER 30, 2021

                  Defendants.
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                                       INTRODUCTION

       As a result of this lawsuit, Plaintiff Adree Edmo became the first incarcerated person in the

country to receive court-ordered surgery to treat the serious medical condition of gender dysphoria.

She secured a permanent injunction requiring Defendants to provide this medically necessary

treatment after more than a year of intensely contested litigation, followed by two more years of

appellate litigation before the Ninth Circuit and the U.S. Supreme Court, as well as work required

to enforce the remedy. Ms. Edmo’s counsel represented her without charging fees of any sort,

assuming the very high risk that they might never be compensated for their time. The demands on

the attorneys’ time over the litigation proved to be immense, as the case proceeded on an expedited

injunction track and resulted in thousands of pages of legal filings in a relatively short period of

time. Pursuant to District of Idaho Local Civil Rules 54.1 and 54.2, and 42 U.S.C. § 1988, Plaintiff

now moves this Court for an award of attorneys’ fees and expenses of $2,821,724.73 through

September 30, 2021. This amount represents Plaintiff’s counsel’s lodestar of $1,364,923, after

billing judgment reductions, in addition to a 2.0 multiplier due to the Kerr factors not subsumed

in the lodestar. At an appropriate time, Plaintiff’s counsel will update their fees and any expenses

incurred after September 30, 2021.

                   RELEVANT FACTS AND PROCEDURAL HISTORY

       Ms. Edmo filed this case pro se, and the Court then granted Ms. Edmo’s motion to appoint

counsel. Upon request of the Court, Plaintiff’s counsel began representing Ms. Edmo in 2017. All

counsel, at every stage of the case, agreed to represent Ms. Edmo on a contingency basis, meaning

that they might never be compensated for either their legal work or expenses. Rifkin Decl. ¶ 18;

Whelan Decl. ¶ 22; Ferguson Decl. ¶ 20; Stormer Decl. ¶ 35; Rao Decl. ¶ 8. Because of the urgency

of Ms. Edmo’s medical needs, counsel immediately filed an amended complaint, opposed

Defendants’ motion for partial summary judgment, and began preparing a motion for preliminary


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injunction, which was filed on June 1, 2018. Rifkin Decl. ¶ 21. That motion was based on Ms.

Edmo’s Eighth Amendment claim, Equal Protection claim (based on sex), and Affordable Care

Act claim (based on sex). Id. An intense period of discovery followed, during which the parties

conducted thirteen depositions of fact and expert witnesses, worked with experts to prepare reports,

and exchanged written discovery. Id. ¶ 22. The evidentiary hearing spanned three court days, with

seven live witnesses, and the admission of nearly forty exhibits. Id. ¶ 23. Counsel for both sides

filed post-trial briefs, proposed findings of fact and conclusions of law, and supplemental

testimony. Id.

        Based on this evidence, in December 2018, this Court held that Defendants were violating

Ms. Edmo’s Eighth Amendment right to necessary medical treatment, and granted not just a

preliminary injunction, but a permanent injunction ordering Defendants to provide Ms. Edmo

gender confirmation surgery. The Court found that Ms. Edmo presented “extensive evidence that,

despite years of hormone therapy, she continues to experience gender dysphoria so significant that

she cuts herself to relieve emotional pain. With full awareness of Ms. Edmo’s circumstances,

[Defendants] refuse to provide Ms. Edmo with gender confirmation surgery…[and] have ignored

generally accepted medical standards for the treatment of gender dysphoria.” Id. ¶ 24 (citing Dkt.

149).

        Because the Court granted Ms. Edmo the requested injunctive relief related to her Eighth

Amendment Claim, the Court found she could not show likelihood of other irreparable injury on

the two other claims upon which Ms. Edmo sought injunctive relief, the Fourteenth Amendment

and Affordable Care Act claims. Dkt. 149 at 44. The Court also determined that “a more developed

record on Defendants’ treatment of transgender inmates is necessary before making a broader

ruling based upon the Fourteenth Amendment or Affordable Care Act.”




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        Following that ruling, Defendants filed the first of three appeals to the Ninth Circuit, as

well as the first of many stay motions. Rifkin Decl. ¶¶ 26-27. This Court denied Defendants’ initial

motion for a stay on March 4, 2019, highlighting its prior finding that “the risks of not providing

gender confirmation surgery to Ms. Edmo include surgical self-treatment, emotional

decompensation, and risk of suicide given her high degree of suicide ideation.” Dkt. 175 at 1.

Because Ms. Edmo’s “medical needs are urgent,” this Court urged Defendants “to act accordingly”

to protect her Constitutional rights. Id. at 3.

        The Ninth Circuit ordered expedited briefing and argument of the appeal, including

briefing on Defendants’ further motions to stay. Rifkin Decl. ¶ 27. Meanwhile, Defendants took

the position in the District Court that they did not have to provide pre-surgical appointments to

Ms. Edmo that were necessary prerequisites to surgery. Id. ¶ 28. Accordingly, Plaintiff’s counsel

filed an emergency motion in the Ninth Circuit to specifically exempt those appointments from

the stay, which the Ninth Circuit granted. Plaintiff’s counsel filed Ms. Edmo’s appellate brief on

April 4, 2019, coordinated five amicus briefs in support of the District Court’s injunction, and

argued the appeal on May 16, 2019. Id.

        On August 23, 2019, the Ninth Circuit issued its ruling upholding this Court’s fact-specific

determination that Defendants violated the Eighth Amendment by denying Ms. Edmo surgery and

affirmed the injunction due to Ms. Edmo’s “severe, ongoing psychological distress and high risk

of self-castration and suicide she faces absent surgery.” Id. ¶ 31; Edmo v. Corizon, 935 F.3d 757,

797 (9th Cir. 2019). Despite both this Court’s and the Ninth Circuit’s findings regarding Ms.

Edmo’s ongoing and desperate need for care, Defendants made litigation decisions in the

subsequent months that further delayed Ms. Edmo’s medical care and significantly increased the

attorney fees in this case. For example, Defendants elected to seek rehearing en banc, belatedly

contested the scope of this Court’s orders about pre-surgical care and surgery (resulting in


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additional briefing and an in-person hearing), filed multiple appeals of the District Court’s orders

(one of which Plaintiff successfully moved to dismiss), and filed additional stay motions (including

on an “emergency” basis that the Ninth Circuit ruled improper). Rifkin Decl. ¶ ¶ 32-33, 43.1 When

the Ninth Circuit denied rehearing en banc, Defendants initiated yet another round of stay motions,

first in the Ninth Circuit, and then in the U.S. Supreme Court, both of which were denied after

Plaintiff filed oppositions. Id. ¶ 35.

        In July 2020, nineteen months after this Court ordered Defendants to provide Ms. Edmo

surgery—and after another round of motions necessitated by Defendants’ failure to take necessary

COVID-19 precautions to ensure surgery could move forward—Ms. Edmo finally received the

treatment ordered. Id. ¶ ¶ 36-37. Plaintiff’s legal fight did not end there, however, as litigation

continued before the U.S. Supreme Court. Because this case involved the first transgender

incarcerated person in the country to receive court-ordered surgery—a precedent that, while unique

to the facts of Ms. Edmo’s case, was significant in the fields of constitutional rights and prisoner

litigation—it was essential to protect the lower court rulings. Id. ¶ 38. That was especially true

because Defendants sought certiorari review based on extreme legal arguments that, if granted,

could have upended Eighth Amendment legal precedents as they relate to incarcerated people and

their medical needs. Id. Because of the importance of these issues not only for Ms. Edmo, but for

all prisoners, Ms. Edmo retained Supreme Court counsel for this phase of the litigation. Id. ¶ 39.

Between May and August 2020, Plaintiff’s counsel successfully opposed Defendants’ application

for a stay, and filed oppositions to both Defendants’ petition for certiorari and their subsequent




1
  IDOC Defendants also filed a motion in Idaho state court in July 2018, without any notice to
Plaintiff’s counsel, that improperly disclosed Ms. Edmo’s confidential criminal and medical
information. Rifkin Decl. ¶ 43. To protect Ms. Edmo’s rights, Plaintiff moved to strike a
declaration containing confidential information about Ms. Edmo and for a Protective Order. Dkt.
81.

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suggestion of mootness. Id. ¶ 41. On October 13, 2020, the Supreme Court denied certiorari and

rejected the mootness argument. Id.

       With surgery completed and having prevailed on appeal, Ms. Edmo voluntarily dismissed

her remaining claims other than her outstanding Eighth Amendment claim for non-injunctive

damages relief. Id. ¶ 42. The parties then participated in judicially-supervised settlement

negotiations, which resolved Ms. Edmo’s claim for damages, leaving attorneys’ fees and expenses

as the only remaining issue for litigation. Id.

         FACTS RELATED TO PLAINTIFF’S REQUEST FOR A MULTIPLIER

       Additional facts related to this case support a fees multiplier. Ms. Edmo originally filed her

case pro se and sought appointment of counsel. Utilizing the standard that counsel should be

appointed only in “exceptional circumstances,” the Magistrate Judge directed court staff to begin

a search for pro bono counsel. Ferguson Decl. ¶¶ 17-18; Dkt. 12. Court staff contacted Plaintiff’s

local counsel, who agreed to represent Ms. Edmo only after securing the assistance of outside

counsel with expertise in both constitutional prisoners’ rights cases and issues related to

transgender people specifically. Ferguson Decl. ¶ 19. There are very few attorneys in Idaho who

litigate even straightforward prisoner civil rights cases; the ACLU of Idaho has only a single

attorney who does so, and the Legal Aid office is prohibited from representing prisoners. Belodoff

Decl. ¶¶ 7, 14; Ferguson Decl. ¶ 18. There are many reasons that few attorneys will litigate these

cases, including the Prison Litigation Reform Act (PLRA) cap on hourly rates far below the

market, the cap on damages, court deference to the decisions of prison administrators, and the

incredible expense of litigating against taxpayer funded prison systems. Belodoff Decl. ¶ 18;

Ferguson Decl. ¶ 18. Because Ms. Edmo’s case also related to medical care, her attorneys had to

pay for experts, an expense not recoverable under 42 U.S.C. § 1988. Whelan Decl. ¶ 28; Belodoff

Decl. ¶ 18.


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        Securing competent counsel to represent Ms. Edmo was especially important given the

unpopularity of her case, Belodoff Decl. ¶ 22, and the legal landscape in Idaho. Idaho has no state

laws that expressly protect transgender people from discrimination and was the first state to try to

ban transgender children from playing sports. Ferguson Decl. ¶ 30. Until 2018, Idaho banned

transgender people from correcting their birth certificates. Id. After this Court struck down that

policy as unconstitutional, F.V. v. Barron, 286 F. Supp. 3d 1131 (D. Idaho 2018), state lawmakers

passed HB 509 to circumvent the Court’s order and again ban transgender people from correcting

their birth certificates. Id. The Governor of Idaho repeatedly politicized Ms. Edmo’s serious

medical issues and issued press releases implying a connection between a person’s commitment

offense and a prison’s duty to provide medical care. Id. Plaintiff’s counsel experienced animosity

due to their representation of Ms. Edmo numerous times, including during interviews with the

media, social gatherings, and even a dental visit. Id. ¶ 32. They also received harassing emails and

voicemails from self-identified Idaho “taxpayers” who, among other things, referred to them as a

“sick, f….g pervert,” and claimed they should be “locked away in a psych ward” for representing

Ms. Edmo. Id. ¶ 33.

                                            ARGUMENT

I.      Plaintiff is the Prevailing Party

        In an action pursuant to 42 U.S.C. §1983, “the court, in its discretion, may allow the

prevailing party, other than the United States, a reasonable attorney’s fee as part of the costs . . .”

42 U.S.C. § 1988(b). A prevailing party is one who has “succeeded on any significant issue in

litigation which achieve[d] some of the benefit the parties sought in bringing suit.” Tex. State

Teachers Ass’n v. Garland Ind. Sch. Dist., 489 U.S. 782, 791-92 (1989) (internal quotations

omitted); see also Farrar v. Hobby, 506 U.S. 103, 111 (1992) (“[T]o qualify as a prevailing party,

a civil rights plaintiff must obtain at least some relief on the merits of his claim.”).


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          Plaintiff is the “prevailing party” under § 1988(b) and is entitled to an award of reasonable

attorneys’ fees and expenses. She succeeded on her claim that Defendants violated the Eighth

Amendment by denying her necessary medical treatment, resulting in serious harm and ongoing

substantial risk of serious harm. Through her lawsuit, Plaintiff obtained a court order for the

permanent injunctive relief sought—gender confirmation surgery. This order was affirmed on

appeal and Plaintiff received surgery through enforcement of the court order. See Buckhannon

Board & Care Home, Inc. v. West Virginia Dept. of Health and Human, Resources 532 U.S. 598,

604 (2001) (prevailing party is one who secures an “enforceable judgment[] on the merits.”). As

such, a fee award is necessary to compensate Plaintiff for the cost of vindicating her civil rights

and to hold Defendants accountable for violating federal law. Fox v. Vice, 563 U.S. 826, 833

(2011).

II.       Plaintiff Is Entitled to Recover Her Requested Fees and Expenses, and a 2.0
          Multiplier is Warranted

          Calculating a fee award is a two-step process. First, the court calculates the “lodestar”

amount, which is the “number of hours reasonably expended on the litigation multiplied by a

reasonable hourly rate.” Hensley, 461 U.S. at 433; Fischer v. SJF-P.D. Inc., 214 F.3d 1115, 1119

(9th Cir. 2000). The lodestar method of calculating fees is strongly presumed to be reasonable.

Oviatt v. Pearce, 954 F.2d 1470, 1482 (9th Cir. 1992); Morales v. City of San Rafael, 96 F.3d 359,

363 n.8 (9th Cir. 1996). Second, the court has the discretion to adjust the lodestar amount based

on the factors set forth in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67 (9th Cir. 1975) (the “Kerr

factors”)2 that have not already been subsumed in the lodestar calculation. Fischer v. SJF-P.D.



2
  The Kerr factors include: (1) the time and labor required of the attorneys, (2) the novelty and
difficulty of the questions involved, (3) the skill requisite to perform the legal service properly,
(4) the preclusion of other work by the attorney due to acceptance of the case, (5) the customary
fee for similar cases, (6) whether the fee is fixed or contingent, (7) time limitations imposed by
the client or the circumstances, (8) the amount of money, or the value of the rights involved, and

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Inc., 214 F.3d 1115, 1119 (9th Cir. 2000); Mendez v. County of San Bernardino, 540 F.3d 1109,

1126 (9th Cir. 2008); Balla v. Idaho State Bd. of Corr., No. CV-81-1165-S-BLW, 2016 WL

6762651, at *10 (D. Idaho Feb. 1, 2016).

       In most civil rights cases, reasonable hourly rates are those that are “in line with those

prevailing in the community for similar services by lawyers of reasonably comparable skill,

experience and reputation.” Camacho v. Bridgeport Financial, Inc., 523 F.3d 973, 980 (9th Cir.

2008). In civil rights cases on behalf of incarcerated people, however, the hourly rate is

predetermined by the Prison Litigation Reform Act (PLRA), which establishes the baseline PLRA

rate as 150 percent of the rate the “Judicial Conference authorized and requested from Congress”

in the “Congressional Budget Summary and the Report of the Proceedings of the Judicial

Conference of the United States[.]” Parsons v. Ryan, 949 F.3d 443, 464-65 (9th Cir. 2020), cert.

denied sub nom. Shinn v. Jensen, 141 S. Ct. 1054 (2021). The current rate authorized by the

Judicial Conference for the payment of court-appointed counsel is $155 per hour for FY 2021,3

and accordingly, 150 percent of that rate is $232.50 per hour.4 Cf. Gates v. Deukmejian, 987 F.2d

1392, 1406-07 (9th Cir. 1993) (holding that use of current rather than historic rates are appropriate

to make up for delay in payment).



the results obtained, (9) the experience, reputation and ability of counsel, (10) the
“undesirability” of the case, (11) the nature and length of the professional relationship with the
client, and (12) awards in similar cases. Kerr, 526 F.2d at 70.
3
  Admin. Office of the U.S. Courts, The Judiciary Fiscal Year 2021 Congressional Budget
Summary 39 (Feb. 2020),
https://www.uscourts.gov/sites/default/files/fy_2021_congressional_budget_summary_0.pdf (last
visited July 20, 2021). Plaintiff requests the Court take judicial notice of this government
document. Fed. R. Evid. 201(c)(2).
4
  Like attorney fees under the PLRA, the hourly rate for paralegals is also capped by the PLRA
at 150% of the hourly rate determined by the Judicial Conference. See Perez v. Cate, 632 F.3d
553, 556-58 (9th Cir. 2011) (paralegal fees awarded to prevailing plaintiffs in prison civil rights
litigation are subject to same hourly cap under the PLRA as attorney fees where award is below
paralegal market rate in relevant area); Parsons, 949 F.3d at 466 (“[P]aralegals are entitled to the
PLRA’s maximum hourly rate if the paralegal market rate exceeds that cap.”).

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        As set forth below, applying this two-step process in this case demonstrates the number of

hours Plaintiff’s counsel spent is reasonable, and the Kerr factors strongly support a 2.0 multiplier

to the lodestar.

        A.         Plaintiff’s Hours and Expenses Are Reasonable

        The most critical factor in determining the reasonableness of a fee award is “the degree of

success obtained.” See, e.g., Farrar v. Hobby, 506 U.S. 103, 114 (1992) (quoting Hensley v.

Eckerhart, 461 U.S. 424, 436 (1983)). The moving party bears the burden of establishing the

reasonableness of the hours claimed, and the party must carry that burden by submitting adequate

documentation of those hours. See Hensley, 461 U.S. at 437. The Court should not grant a fee

award for “hours that are excessive, redundant, or otherwise unnecessary.” Id. at 433–34.

        Here, Ms. Edmo achieved superlative results—obtaining an injunction resulting in life-

saving surgery and defending that relief through numerous appeals, a petition for rehearing en

banc, and an application for stay and petition for certiorari to the U.S. Supreme Court. Sorenson

v. Mink, 239 F.3d 1140, 1147 (9th Cir. 2001) (excellent results occur when a plaintiff fulfills the

goal of the litigation or “accomplishes its mission”). As a result of this case, Ms. Edmo was the

first transgender incarcerated person in the country to receive gender confirmation surgery

pursuant to court order. The Ninth Circuit decision upholding this Court’s ruling in her favor has

already been cited more than 200 times by other courts and law review articles. Rifkin Decl. ¶ 44.

        Plaintiff’s counsel’s lodestar in this case is reasonable, and fully supported by detailed

timesheets documenting the hours and the tasks that were completed.5 Rifkin Decl. ¶ 46 and Ex.

B; Whelan Decl. ¶ 28 and Ex. B; Ferguson Decl. ¶ 35 and Ex. B; Stormer Decl. ¶ 24 and Ex. C;

Hartnett Decl. ¶ 15 and Ex. 1; Rao Decl. ¶ 12 and Ex. C; Belodoff Decl. ¶ 19. As the Court is


5
 For ease of reference, a summary of the claimed fees and expenses, divided among the law
offices, is attached as Appendix A.


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aware, the case involved thousands of pages of legal filings, discovery, an evidentiary hearing, and

appellate work on complex constitutional issues of first impression on an expedited basis.

Plaintiff’s attorneys conscientiously avoided duplication of effort, and time constraints required

counsel to divide and delegate tasks. As the timesheets and results of this case demonstrate,

Plaintiff’s counsel’s work was reasonable and necessary to obtain the injunction and defend it on

appeal. Moreover, Plaintiff’s counsel have already exercised appropriate billing judgment

reductions, including by excluding various timekeepers, and engaging in the same reductions of

bills that the firms would do for fee-paying clients. Rifkin Decl. ¶ 48; Whelan Decl. ¶ 29; Stormer

Decl. ¶ 37; Hartnett Decl. ¶ 21; Rao Decl. ¶ 13. The hours claimed are not excessive, redundant,

or otherwise unnecessary and, in light of the billing judgment reductions already made, are entitled

to deference by the Court. See, e.g., Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir.

2008) (“By and large, the court should defer to the winning lawyer’s professional judgment as to

how much time he was required to spend on the case; after all, he won, and might not have, had

he been more of a slacker.”).

       Plaintiff’s time records also include time spent preparing this motion for attorneys’ fees,

which is compensable. Clark v. City of Los Angeles, 803 F.2d 987, 992 (9th Cir. 1986) (citations

omitted); see also Guerrero v. Cummings, 70 F.3d 1111, 1113 (9th Cir. 1995) (same). Plaintiff is

also entitled to reimbursement of expenses that would normally be billed to fee-paying clients. 42

U.S.C. § 1988 (b); Harris v. Marhoefer, 24 F.3d 16, 19 (9th Cir. 1994). Plaintiff’s attorneys have

incurred a total of $72,662.79 in expenses related to the case,6 as supported by the accompanying




6
  These expenses are in addition to the statutory costs outlined in Plaintiff’s final Bill of Costs.
Dkt. 312. That final Bill of Costs does not include $292.90 of statutory costs awarded by the
Ninth Circuit on February 19, 2020, Dkt. 109, but which remains unpaid, or the $129.70 of costs
filed previously with this Court, which is similarly unpaid. Dkt. 261.

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attorney declarations. See Appendix A; Rifkin Decl. ¶ 49 and Ex. C; Stormer Decl. ¶ 45 and Ex.

C; Whelan Decl. ¶ 32 and Ex. C; Hartnett Decl. ¶ 18 and Ex. 1.

       B.      Plaintiff is Entitled to a Fully Compensatory Fee

       Plaintiff anticipates that Defendants may seek to reduce her fees because the Court did not

grant relief on each of her original claims. Decades of Supreme Court and Ninth Circuit precedent

establish that any such reduction would be improper. In Hensley, the Supreme Court considered

whether the district court could grant attorneys’ fees for time expended on claims on which

plaintiffs did not prevail. The Court held that even though a plaintiff was not entitled to an award

of fees for time spent on unsuccessful claims that were unrelated to successful claims, “[w]here a

lawsuit consists of related claims, a plaintiff who has won substantial relief should not have his

attorney’s fee reduced simply because the district court did not adopt each contention raised.” 461

U.S. at 440. Thus, a court’s duty in a complex case is not to parse out and determine fees on a

claim-by-claim basis, since “[m]uch of counsel’s time will be devoted generally to the litigation

as a whole, making it difficult to divide the hours expended on a claim-by-claim basis.” Id. at 435.

Rather, where the plaintiff presents different claims for relief that “involve a common core of

facts” or are based on “related legal theories,” the district court “should focus on the significance

of the overall relief obtained by the plaintiff in relation to the hours reasonably expended on the

litigation.” Id.; see also Padgett v. Loventhal, 706 F.3d 1205, 1209 (9th Cir. 2013) (“Often,

attorney work will bear on multiple claims, only some of which are successful. Fees for work

which relates only to unsuccessful claims should not be awarded. But where attorney work proves

beneficial to a successful claim, district courts should generally award these fees in full, even if

the work is also useful to an unsuccessful claim.”) (citing Hensley, 461 U.S. at 436)).

       Ms. Edmo’s claims are related because they all involved a common core of facts and were

simply alternative legal theories of liability to seek redress for the conditions of confinement to


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which Defendants subjected Ms. Edmo related to her gender dysphoria, including Defendants’

failure to provide her with medically necessary care. As such, her claims were legally and factually

intertwined and her attorneys’ work was “devoted generally to the litigation as a whole.” Hensley,

461 U.S. at 435. Moreover, the primary relief Ms. Edmo sought when she moved for injunctive

relief on three of her claims was gender confirmation surgery and she successfully obtained that

relief.

          C.     The Kerr Factors Support a 2.0 Multiplier

          The PLRA “authorizes multipliers to the base hourly rate above the cap set by 42 U.S.C. §

1997e(d)(1).” Parsons v. Ryan, 949 F.3d 443, 466 (9th Cir. 2020), cert. denied sub nom. Shinn v.

Jensen, 141 S. Ct. 1054 (2021); see Kelly v. Wengler, 822 F.3d 1085, 1093, 1102-06 (affirming

2.0 and 1.3 multiplier in prisoner civil rights case where attorneys demonstrated superior

performance and the need to attract competent counsel). A fee applicant bears the burden of

proving that a fee enhancement is necessary and must produce “specific evidence” supporting the

award. Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 553 (2010).

          Any enhancement to the lodestar must be determined based on an evaluation of the Kerr

factors “that are not already subsumed in the initial lodestar calculation.” Parsons, 949 F.3d at 467

(quoting Fischer v. SJB-P.D. Inc., 214 F.3d 1115, 1119 & n.4 (9th Cir. 2000)). Kerr factors one

through four and six7 are considered subsumed in the lodestar calculation. Morales v. City of San

Rafael, 96 F.3d 359, 364 n.9 (9th Cir. 1996), opinion amended on denial of reh’g, 108 F.3d 981

(9th Cir. 1997). The Kerr factors relevant to determining whether to enhance the lodestar figure

therefore include:

          (5) the customary fee, . . . (7) time limitations imposed by the client or the
          circumstances, (8) the amount involved and the results obtained, (9) the

7
 Including the time and labor required, novelty and difficulty of issues, requisite skill necessary,
preclusion of other work, and whether the fee is fixed or contingent. Kerr, 526 F.2d at 70.

                                                    12
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         experience, reputation, and ability of the attorneys, (10) the “undesirability” of the
         case, (11) the nature and length of the professional relationship with the client,
         and (12) awards in similar cases.

Id.; Bown v. Reinke, No. 1:12-CV-262-BLW, 2016 WL 2930904, at *2 (D. Idaho May 19, 2016);

Balla, 2016 WL 6762651, at *10. These factors, taken together, support a multiplier of 2.0 due to

Plaintiff’s counsel’s superior performance and extraordinary results, as well as the need to attract

competent counsel for important but unpopular civil rights cases on behalf of marginalized and

vulnerable people.

                            1. The Customary Fee in Similar Litigation

         The fifth Kerr factor considers the customary fee in similar litigation. Reasonable hourly

rates for civil rights cases are usually determined by the local forum where the case is litigated,

but non-local rates can be awarded if local counsel are unavailable “either because they are

unwilling or unable to perform because they lack the degree of experience, expertise, or

specialization required to properly handle the case.” Gates, 987 F.2d at 1405. This Kerr factor

supports a multiplier regardless of whether the Court applies local or non-local rates.

         First, a lodestar based on the PLRA rate cap of $232.50 per hour would compensate

Plaintiff’s counsel for only a fraction of their work using even local Idaho rates. Ferguson Decl. ¶

36. Using Ms. Ferguson and Mr. Durham as examples, the PLRA rate would compensate them for

only 49 percent and 58 percent of their work, respectively.8 This, by definition, is not a reasonable

fee. See, e.g., Kelly, 822 F.3d at 1104 (“When the lodestar figure based on the PLRA rate is

insufficient to induce competent attorneys to accept appointment in meritorious civil rights cases,

it is by definition not a reasonable fee.”) (citing Perdue, 559 U.S. at 552); see also Bown v. Reinke,

2016 WL 2930904, at *2 (“The PLRA rates are far below market rates in this region for this type




8
    The PLRA rate divided by Ms. Ferguson’s $475 and Mr. Durham’s $400 per hour rates.

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of work based on the Court’s long experience in evaluating fee petitions.”); Ginest v. Bd. of Cty.

Comm’rs of Carbon County, 423 F. Supp. 2d 1237, 1241 (D. Wyo. 2006) (finding “the PLRA fees

are exceptionally low and an enhancement is permissible to make the fee more fair”).

       This gulf in compensation between the PLRA cap and a customary rate becomes even more

extreme when considering outside counsel rates, which would be warranted in the absence of the

PLRA. Local counsel agreed to represent Ms. Edmo at the Court’s request and only after securing

the assistance of outside counsel who specialize in both prison constitutional issues and

transgender medical issues in particular. Ferguson Decl. ¶ 18-19; Rifkin Decl. ¶ 17. Without that

assistance, local counsel would not have been able to represent Ms. Edmo, Ferguson Decl. ¶¶ 19,

31, and it is highly unlikely that any other attorney in Idaho would have taken the case. Id. ¶ 18;

Belodoff Decl. ¶¶ 14. 18. Accordingly, this is precisely the type of civil rights case where outside

hourly rates would otherwise apply, Gates, 987 F.2d at 1405, further supporting a multiplier. Those

rates, which range from $400 to $1,200 for the attorneys who litigated the case before the District

Court and the Ninth Circuit, are hundreds of dollars per hour more than the PLRA rate. Rifkin

Decl. ¶ 46; Whelan Decl. ¶ 30; Stormer Decl. ¶ 21. At the Supreme Court stage, it was reasonable

for Ms. Edmo to retain attorneys who specialize in litigation before that Court. Belodoff Decl. ¶

20; Rifkin Decl. ¶ 39. When the City of Boise filed a petition for certiorari, for instance, it paid

$75,000 to Supreme Court counsel just to file the petition for certiorari and would have paid

another $225,000 had the case been accepted. Belodoff Decl. ¶ 20. The City of Boise’s contract

also specifically contemplated paying a multiplier similar to the one sought by Plaintiff here. Id. ¶

21. This prong strongly supports a 2.0 multiplier.

                           2. Time Limitations Imposed by the Client or Circumstances

       Kerr factor seven considers unusual time limitations imposed by the client or the

circumstances. Kerr, 526 F.2d at 70; Kelly, 822 F.3d at 1103 (affirming enhancement of the


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lodestar in part because “Plaintiffs’ counsel labored ‘under extreme time pressure and with very

limited resources’”). Here, counsel prioritized the ongoing and extensive work required by the

circumstances of this case, including Plaintiff’s urgent need for lifesaving medical care and

Defendants’ resistance to providing that care at every step. Whereas Ninth Circuit appeals can

typically take years to complete, that process was condensed to only five months for the main

appeal in this case—after Defendants filed their first notice of appeal in January 2019, Defendants

and Plaintiff filed their appellate briefs in March and April of 2019 and oral argument was held in

May 2019. Rifkin Decl. ¶ 28. Litigation also included multiple motions that were heard on an

urgent or emergency basis, including stay motions and motions for exemptions from the stay so

that Ms. Edmo could receive presurgical care. Id. ¶¶ 26-28, 31-33. Indeed, Plaintiff’s counsel was

frequently litigating issues in both the appellate and district court at the same time, including a

last-minute ex parte motion to ensure that Defendants took reasonable measures, given the COVID

pandemic, to comply with the injunction. Id. ¶ 34; Ferguson Decl. ¶ 26.

                           3. Exceptional Results Due to Superior Performance of Counsel

       The eighth Kerr factor requires courts to consider the results obtained by the lawsuit. Kerr,

526 F.2d at 70. As set forth above, Plaintiff’s counsel obtained exceptional results for Ms. Edmo,

securing the first court-ordered gender confirmation surgery in the nation for an incarcerated

person and successfully defending this Court’s orders on appeal, including in the Ninth Circuit and

the Supreme Court. Rifkin Decl. ¶ 45. And while the rulings were specific to Ms. Edmo, the Ninth

Circuit decision has already been cited more than 200 times, including 85 case citations. Id. Indeed,

Defendants themselves have recognized the vital importance of this case, noting in their petition

for certiorari that this case “raises questions of vital importance to prison systems, medical and

mental health providers, administrators, governments, and inmates nationwide,” will “affect prison

medical claims in all contexts,” and that “[e]ven if the import of this case were limited to the


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treatment of gender dysphoria in prison (and it is not), the issue of constitutionally appropriate

treatment for gender dysphoric inmates is arising with increasing frequency across the country.”

Idaho Dep’t of Corr. v. Edmo, Nos. 19-35017, 19-35019, Pet. for Cert. 33, 35, 36 (May 6, 2020).

                           4. The Experience, Reputation, and Ability of the Attorneys

       In non-PLRA cases, where an attorney’s skill and experience is typically reflected in their

hourly rate, the use of the ninth Kerr factor—the experience, reputation and ability of the

attorneys—has been limited. Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air,

478 U.S. 546, 565 (1986) (holding that an attorney’s skill and experience is typically already

reflected in their hourly rate). This factor is essential here, however, where the PLRA rate is far

below typical rates even in the Boise market. Counsel in this matter have litigated numerous civil

rights and prisoner rights cases around the country, including before the U.S. Supreme Court, and

Plaintiff’s local counsel are skilled civil rights litigators in Idaho. Rifkin Decl. ¶¶ 3-16, Whelan

Decl. ¶¶ 4-19; Ferguson Decl. ¶¶ 4-16; Stormer Decl. ¶ 2-15. Plaintiff also secured preeminent

Supreme Court counsel for that stage of the litigation, including an attorney now serving as the

acting Solicitor General and who has been nominated to hold that position permanently. Hartnett

Decl. ¶¶ 1-8, 17, Rao Decl. ¶¶ 2-9. This factor thus heavily weighs in favor of a multiplier in order

to compensate counsel for the skill and expertise they brought to the litigation.

                           5. The Undesirability of the Case

       The tenth Kerr factor considers the “undesirability” of the case. Kerr, 526 F.2d at 70; see

Planned Parenthood of Cent. & N. Ariz. v. State of Ariz., 789 F.2d 1348, 1354 (9th Cir. 1986)

(“We recognize that the ‘undesirable’ nature of a case is an appropriate factor in determining

attorneys’ fees.”); Gomez v. Gates, 804 F. Supp. 69, 76 (C.D. Cal. 1992) (awarding 1.75 multiplier

in excessive force case given the “undesirable nature of this case”). Litigation on behalf of

incarcerated persons is generally considered “undesirable” even by the civil rights bar, in part


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because such cases are complex, fact-intensive, expensive to litigate, and the PLRA restricts the

hourly rate for attorneys’ fees far below the market. Ferguson Decl. ¶ 18; Belodoff Decl. ¶¶ 14,

18. These considerations applied especially in Ms. Edmo’s case, where local counsel were the only

Idaho attorneys who would accept Ms. Edmo’s case and would not have done so without assistance

from outside counsel who were experienced in both prison conditions cases and transgender

healthcare issues. Ferguson Decl. ¶¶ 19, 31. Ms. Edmo’s case was extremely unpopular in Idaho,

which generally lacks any explicit nondiscrimination protections for transgender people and,

during the pendency of Ms. Edmo’s case, banned transgender people from correcting their birth

certificates, first by policy and later by legislation, and became the first state in the nation to

attempt to ban transgender children from playing sports. Id. ¶ 30. The Governor of Idaho, who was

not a party to the lawsuit, repeatedly made public statements against Ms. Edmo’s lawsuit,

politicizing her serious medical needs and misrepresenting issues surrounding her case. Id. ¶29.

Media coverage of the case frequently referenced its unpopularity, Ms. Edmo’s attorneys received

multiple harassing emails and voicemails during her case, and Ms. Edmo’s local counsel

experienced negative backlash during their daily lives. Id. ¶¶ 32-33.9

                          6. The Nature and Length of the Client Relationship

       The eleventh Kerr factor regards the professional relationship between counsel and

plaintiff. Kerr, 526 F.2d at 70. Plaintiff’s counsel began their relationship with Ms. Edmo prior to

entering appearances in this case in June and August of 2017. They maintained close contact with

Ms. Edmo throughout the case, both in-person and over the phone. This included work on Ms.



9
  Although media work is compensable in this case, Plaintiff’s counsel has excluded most of
their work responding to media requests apart from work necessary to protect Ms. Edmo’s
confidential information and respond to the State’s public statements politicizing and
misrepresenting her case. Davis v. City & Cty. Of San Francisco, 976 F.2d 1536, 1545 (9th Cir.
1992), opinion vacated in part on denial of reh’g, 984 F.2d 345 (9th Cir. 1993) (media time
compensable where “directly and intimately related to the successful representation of a client.”).

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Edmo’s declarations, multiple witness preparation sessions for Ms. Edmo’s deposition and hearing

testimony, preparation sessions for the mediation, and phone calls and other communications to

inform Ms. Edmo about the status of her case. Counsel also ensured that Ms. Edmo had all filings

in the case via legal mail, Rifkin Decl. ¶ 47, and provided Ms. Edmo with appropriate, non-prison

clothing for her court appearances. Ferguson Decl. ¶ 34. This relationship was especially important

in this case, where Ms. Edmo had severely limited access to public information about her case,

could not access the court docket or internet, and had no other support network.

                           7. Awards in Similar Cases

       The final Kerr factor instructs courts to consider awards in similar cases. Kerr, 526 F.2d at

70. “The reasonableness of a fee may also be considered in the light of awards made in similar

litigation within and without the court’s circuit.” Johnson, 488 F.2d at 719; see Moore v. James H.

Matthews & Co., 682 F.2d 830, 838 (9th Cir. 1982). Courts have awarded multipliers in cases that

raise Eighth Amendment challenges by incarcerated persons. See, e.g., Bown, 2016 WL 2930904,

at *3 (awarding multiplier in case involving delayed medical care to prisoner); Kelly, 822 F.3d at

1104; Rodriguez v. Cty. Of Los Angeles, 96 F. Supp. 3d 1012, 1025-26 (C.D. Cal. 2014), aff’d, 891

F.3d 776 (9th Cir. 2018) (awarding 2.0 multiplier in excessive force case where “Counsel faced

substantial obstacles to success including representing Plaintiffs that were routinely described as

the ‘worst of the worst’ prisoners who were challenging the actions of highly ranked Sheriff’s

office officials and supervisors”).

       Taken together, the Kerr factors support both the reasonableness of the fees requested and

the addition of a 2.0 enhancement. In Kelly, the Ninth Circuit held that in both PLRA and non-

PLRA cases, “the district court may enhance the lodestar when plaintiffs’ counsel’s ‘superior

performance and commitment of resources’ is ‘rare’ and ‘exceptional’ as compared to run-of-the-

mill representation in such cases.” 822 F.3d at 1103 (citing Perdue, 559 U.S. at 553-54) (internal


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citations omitted)); see also Balla, 2016 WL 6762651, at *12 (awarding multipliers of 1.97, 1.39,

and 1.26). Moreover, “[i]mproving the quality of prisoner suits requires that plaintiffs with

meritorious civil rights cases be able to secure competent counsel.” See Kelly, 822 F.3d at 1104.

       Here, nothing about this case was run-of-the-mill. Ms. Edmo had no counsel when she filed

the case. No Idaho attorneys were willing to take Ms. Edmo’s case on their own. Local counsel

did so at the request of the Court and only because they had the assistance of outside attorneys

with extensive experience litigating prison and transgender civil rights cases. Throughout the

litigation, Ms. Edmo and her counsel faced a flurry of motions and appeals, all the way to the U.S.

Supreme Court, all while contending with the Governor’s politicization of Ms. Edmo’s case and

intense public backlash. Ferguson Decl. ¶¶ 19, 29, 31; see also Belodoff Decl. at ¶ 22

(enhancement is justified due to low PLRA rate, Defendants’ aggressive litigation tactics, the

unpopularity of the case, and the excellent results achieved.). A fee award at the PLRA rate would

have the perverse result of discouraging skilled counsel from taking difficult and unpopular civil

rights cases such as Ms. Edmo’s. A 2.0 multiplier is necessary and warranted to avoid this result.

                                        CONCLUSION

       For the reasons above, Plaintiff requests that the Court award $2,821,724.73 in reasonable

attorneys’ fees and expenses incurred through September 30, 2021.

       Respectfully Submitted this 21st day of October, 2021.

                                             FERGUSON DURHAM
                                             HADSELL STORMER RENICK & DAI LLP
                                             NATIONAL CENTER FOR LESBIAN RIGHTS
                                             RIFKIN LAW OFFICE

                                             By:     /s/ Amy Whelan
                                                     Amy Whelan
                                                     Attorneys for Plaintiff




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                                        APPENDIX
                            Summary of Claimed Fees and Expenses
Total Fees By Firm
                                                                            LODESTAR PLUS 2.0
               FIRM/ORG.                     HOURS         LODESTAR
                                                                               MULTIPLIER
National Center for Lesbian Rights (PLRA)    1253.80 hrs   $ 291,508.50      $      583,017.00
   NCLR Law Student - $220/hr                  39.10 hrs   $     8,602.00    $       17,204.00
   NCLR Paralegal Assistant - $175/hr          46.50 hrs   $     8,137.50    $       16,275.00
Cooley LLP (PLRA)                             370.30 hrs   $    86,094.75    $      172,189.50
MacArthur Justice Center/Jenner (PLRA)         47.00 hrs   $    10,927.50    $       21,855.00
Ferguson Durham, PLLC (PLRA)                  313.60 hrs   $    72,912.00    $      145,824.00
Hadsell Stormer Renick & Dai (PLRA)          1304.60 hrs   $ 303,319.50      $      606,639.00
   HS&R Law Clerk - $175                       20.20 hrs   $     3,535.00    $        7,070.00
   HS&R Law Clerk - $210                       68.30 hrs   $    14,684.50    $       29,369.00
   HS&R Law Student - $220                     63.70 hrs   $    14,014.00    $       28,028.00
Rifkin Law Office (PLRA)                     2370.70 hrs   $ 551,187.75      $    1,102,375.50
                             Totals          5897.80 hrs   $ 1,364,923.00    $    2,729,846.00


Total Expenses By Firm
FIRM/ORG.                                                    EXPENSES
National Center for Lesbian Rights                         $   14,351.74
Cooley LLP                                                 $    1,327.40
MacArthur Justice Center/Jenner                            $         -
Ferguson Durham, PLLC                                      $      272.42
Hadsell Stormer & Renick, LLP                              $   55,585.39
   Hadsell Stormer Renick & Dai - Prior Bills of Costs     $   19,215.94
Rifkin Law Office                                          $    1,125.84
                                            Total          $   91,878.73


Grand Total
Grand Total                                                $ 2,821,724.73
